     Case 3:18-cr-00500-B Document 145 Filed 08/06/21          Page 1 of 3 PageID 1187



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

UNITED STATES OF AMERICA

v.                                                     NO. 3:18-CR-500-B

CHRISTOPHER AUNDRE FAULKNER



       STATEMENT REGARDING SEIZED PROPERTY AND RELEASE AND
          TRANSFER TO SECURITIES AND EXCHANGE COMMISSION

           Per the plea agreement, the government and the defendant have agreed to the

release of certain seized property listed in the forfeiture notice in the superseding

indictment, pending the Court’s acceptance of the defendant’s guilty plea. Particularly,

the defendant agreed to release and relinquish any ownership, claim, title, or license to

the government the following property:

           1. $43,513.78 seized from Bank of America account x6648 in the name of

Breitling Royalties Corporation;

           2. $122,387.11 seized from Wells Fargo account x9160 in the name of Blue Star

Investments, Inc. d/b/a Breitling;

           3. $85,093.05 seized from BB&T account x6091 in the name of Blue Star

Investments, Inc. d/b/a Breitling; and

           4. Two large custom oil filed paintings by Alec Monopoly.




– Page 1
  Case 3:18-cr-00500-B Document 145 Filed 08/06/21               Page 2 of 3 PageID 1188



           Following the judgment, the assets will be transferred to the Securities and

Exchange Commission Receivership in SEC v. Christopher Faulker, 3:16-CV-1735

(N.D. Tex.) where the SEC will apply these assets to that case.




                                                     Respectfully submitted,


                                                     PRERAK SHAH
                                                     ACTING UNITED STATES
                                                     ATTORNEY



                                                     /s/ Dimitri N. Rocha
                                                     DIMITRI N. ROCHA
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– Page 2
  Case 3:18-cr-00500-B Document 145 Filed 08/06/21             Page 3 of 3 PageID 1189



                                   CERTIFICATE OF SERVICE

       The undersigned Assistant United States Attorney certifies that in accordance with
Fed. R. Civ. P. 5, LR 5.1, and Fed. R. Crim. P. 49, LCrR 49.2, and the Miscellaneous
Order on Electronic Case Filing (ECF), the following document:

           Statement Regarding Seized Property and Release and Transfer to the Securities
           and Exchange Commission

was served on August 6, 2021 pursuant to the district court’s ECF system as to ECF filers.



                                                   /s/ Dimitri N. Rocha
                                                   DIMITRI N. ROCHA
                                                   Assistant United States Attorney




– Page 3
